B1 (Official Form 1) (04/13)
                                     UNITED STATES BANKRUPTCY COURT
                                                                                                                                    VOLUNTARY PETITION
                                          District
                                     __________    of Arizona
                                                District of __________
 Name of Debtor (if individual, enter Last, First, Middle):                                   Name of Joint Debtor (Spouse) (Last, First, Middle):
  Electric Transportation Engineering Corporation                                              None
 All Other Names used by the Debtor in the last 8 years                                       All Other Names used by the Joint Debtor in the last 8 years
 (include married, maiden, and trade names):                                                  (include married, maiden, and trade names):
  ECOtality North America, ETEC, eTec, ETEC Electrical Infrastructure
 Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN)/Complete EIN                Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN)/Complete EIN
 (if more than one, state all):                                                               (if more than one, state all):
  XX-XXXXXXX
 Street Address of Debtor (No. and Street, City, and State):                                  Street Address of Joint Debtor (No. and Street, City, and State):
 430 S. 2nd Ave.
 Phoenix, Arizona
                                                                    ZIP CODE 85003                                                                         ZIP CODE
 County of Residence or of the Principal Place of Business:                                   County of Residence or of the Principal Place of Business:
  Maricopa County
 Mailing Address of Debtor (if different from street address):                                Mailing Address of Joint Debtor (if different from street address):



                                                                 ZIP CODE                                                                                  ZIP CODE
 Location of Principal Assets of Business Debtor (if different from street address above):
                                                                                                                                                        ZIP CODE
                           Type of Debtor                                        Nature of Business                         Chapter of Bankruptcy Code Under Which
                       (Form of Organization)                        (Check one box.)                                          the Petition is Filed (Check one box.)
                          (Check one box.)
                                                                           Health Care Business                             Chapter 7                  Chapter 15 Petition for
        Individual (includes Joint Debtors)                                Single Asset Real Estate as defined in           Chapter 9                  Recognition of a Foreign
        See Exhibit D on page 2 of this form.                              11 U.S.C. § 101(51B)                      ✔      Chapter 11                 Main Proceeding
  ✔     Corporation (includes LLC and LLP)                                 Railroad                                         Chapter 12                 Chapter 15 Petition for
        Partnership                                                        Stockbroker                                      Chapter 13                 Recognition of a Foreign
        Other (If debtor is not one of the above entities, check           Commodity Broker                                                            Nonmain Proceeding
        this box and state type of entity below.)                          Clearing Bank
                                                                     ✔     Other
                        Chapter 15 Debtors                                       Tax-Exempt Entity                                         Nature of Debts
 Country of debtor’s center of main interests:                                (Check box, if applicable.)                                  (Check one box.)
                                                                                                                         Debts are primarily consumer     ✔ Debts are
                                                                          Debtor is a tax-exempt organization            debts, defined in 11 U.S.C.        primarily
 Each country in which a foreign proceeding by, regarding, or             under title 26 of the United States            § 101(8) as “incurred by an        business debts.
 against debtor is pending:                                               Code (the Internal Revenue Code).              individual primarily for a
                                                                                                                         personal, family, or
                                                                                                                         household purpose.”
                                Filing Fee (Check one box.)                                                                  Chapter 11 Debtors
                                                                                              Check one box:
  ✔     Full Filing Fee attached.                                                                 Debtor is a small business debtor as defined in 11 U.S.C. § 101(51D).
                                                                                              ✔ Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
        Filing Fee to be paid in installments (applicable to individuals only). Must attach
        signed application for the court’s consideration certifying that the debtor is        Check if:
        unable to pay fee except in installments. Rule 1006(b). See Official Form 3A.             Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                                                                  insiders or affiliates) are less than $2,490,925 (amount subject to adjustment
        Filing Fee waiver requested (applicable to chapter 7 individuals only). Must              on 4/01/16 and every three years thereafter).
        attach signed application for the court’s consideration. See Official Form 3B.        -----------------------------------
                                                                                              Check all applicable boxes:
                                                                                                  A plan is being filed with this petition.
                                                                                                  Acceptances of the plan were solicited prepetition from one or more classes
                                                                                                  of creditors, in accordance with 11 U.S.C. § 1126(b).
 Statistical/Administrative Information                                                                                                                      THIS SPACE IS FOR
                                                                                                                                                             COURT USE ONLY
  ✔        Debtor estimates that funds will be available for distribution to unsecured creditors.
           Debtor estimates that, after any exempt property is excluded and administrative expenses paid, there will be no funds available for
           distribution to unsecured creditors.
 Estimated Number of Creditors
                                                ✔
 1-49          50-99          100-199           200-999    1,000-          5,001-         10,001-         25,001-          50,001-           Over
                                                           5,000           10,000         25,000          50,000           100,000           100,000

 Estimated Assets
                                                                           ✔
 $0 to         $50,001 to     $100,001 to       $500,001   $1,000,001      $10,000,001    $50,000,001     $100,000,001      $500,000,001     More than
 $50,000       $100,000       $500,000          to $1      to $10          to $50         to $100         to $500           to $1 billion    $1 billion
                                                million    million         million        million         million
 Estimated Liabilities
                                                                                                           ✔
 $0 to         $50,001 to $100,001 to $500,001 $1,000,001                 $10,000,001     $50,000,001     $100,000,001      $500,000,001     More than
 $50,000       $100,000   $500,000
                Case 2:13-bk-16126-MCWto $1    to $10Doc                 1to $50
                                                                               Filed      to $100
                                                                                         09/16/13         toEntered
                                                                                                             $500         to $1 billion 22:45:46
                                                                                                                         09/16/13         $1 billion         Desc
                                      million  million                    million         million         million
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 Voluntary Petition                                                                  Name of Debtor(s):
 (This page must be completed and filed in every case.)                                Electric Transportation Engineering Corporation
                                     All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet.)
 Location                                                                            Case Number:                                      Date Filed:
                None
 Where Filed:
 Location                                                                            Case Number:                                      Date Filed:
 Where Filed:
                      Pending Bankruptcy Case Filed by any Spouse, Partner, or Affiliate of this Debtor (If more than one, attach additional sheet.)
 Name of Debtor:                                                                     Case Number:                                      Date Filed:
                      See Attached Rider 1
 District:                                                                                      Relationship:                                    Judge:



                                         Exhibit A                                                                                  Exhibit B
 (To be completed if debtor is required to file periodic reports (e.g., forms 10K and                                (To be completed if debtor is an individual
 10Q) with the Securities and Exchange Commission pursuant to Section 13 or 15(d)                                    whose debts are primarily consumer debts.)
 of the Securities Exchange Act of 1934 and is requesting relief under chapter 11.)
                                                                                                I, the attorney for the petitioner named in the foregoing petition, declare that I have
                                                                                                informed the petitioner that [he or she] may proceed under chapter 7, 11, 12, or 13
                                                                                                of title 11, United States Code, and have explained the relief available under each
                                                                                                such chapter. I further certify that I have delivered to the debtor the notice required
                                                                                                by 11 U.S.C. § 342(b).
        Exhibit A is attached and made a part of this petition.
                                                                                                X
                                                                                                    Signature of Attorney for Debtor(s)       (Date)

                                                                                      Exhibit C
 Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?

        Yes, and Exhibit C is attached and made a part of this petition.

 ✔      No.



                                                                                      Exhibit D
 (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)

       Exhibit D, completed and signed by the debtor, is attached and made a part of this petition.

 If this is a joint petition:

        Exhibit D, also completed and signed by the joint debtor, is attached and made a part of this petition.




                                                                      Information Regarding the Debtor - Venue
                                                                                (Check any applicable box.)
              ✔        Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
                       preceding the date of this petition or for a longer part of such 180 days than in any other District.

                       There is a bankruptcy case concerning debtor’s affiliate, general partner, or partnership pending in this District.

                       Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in this District, or has
                       no principal place of business or assets in the United States but is a defendant in an action or proceeding [in a federal or state court] in this
                       District, or the interests of the parties will be served in regard to the relief sought in this District.


                                                   Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                                           (Check all applicable boxes.)

                          Landlord has a judgment against the debtor for possession of debtor’s residence. (If box checked, complete the following.)


                                                                                                (Name of landlord that obtained judgment)



                                                                                                (Address of landlord)

                          Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure the
                          entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and

                          Debtor has included with this petition the deposit with the court of any rent that would become due during the 30-day period after the filing
                          of the petition.

                          Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).
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                                             Rider 1

        Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

         On the date hereof, each of the entities listed below (each a “Debtor” and collectively,
the “Debtors”) filed a petition in this court for relief under chapter 11 of title 11 of the United
States Code. Concurrently with the chapter 11 filings, the Debtors are seeking joint
administration of these cases, and a corresponding transfer of assignment of the cases to be
jointly administered, under the case number and judge assigned to the chapter 11 case of Electric
Transportation Engineering Corporation.

       1.      Electric Transportation Engineering Corporation

       2.      ECOtality, Inc.

       3.      ECOtality Stores, Inc.

       4.      ETEC North, LLC

       5.      The Clarity Group, Inc.

       6.      G.H.V. Refrigeration, Inc.




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                                  UNITED STATES BANKRUPTCY COURT
                                        DISTRICT OF ARIZONA

     In re:                                                           Case No. 2:13-BK-__________(___)

     ELECTRIC TRANSPORTATION ENGINEERING                              Chapter 11
     CORPORATION (d/b/a ECOTALITY NORTH
     AMERICA), et al.,1                                               (Joint Administration Requested)

              Debtors.


     This filing applies to:

               All Debtors

               Specified Debtors



        CONSOLIDATED LIST OF DEBTORS’ 30 LARGEST UNSECURED CREDITORS


The following is a list of creditors holding the 30 largest unsecured claims against the above-captioned Debtor and
certain affiliated entities that have simultaneously commenced chapter 11 cases in this Court (collectively, the
“Debtors”). This list has been prepared on a consolidated basis from the unaudited books and records of the Debtors.
The list reflects amounts from the Debtors’ books and records as of September 16, 2013. The list is prepared in
accordance with Fed. R. Bankr. P. 1007(d) for filing in the Debtors’ chapter 11 cases. This list does not include
(1) persons who come within the definition of “insider” set forth in 11 U.S.C. § 101 or (2) secured creditors unless the
value of the collateral is such that the unsecured deficiency places the creditor among the holders of the 30 largest
unsecured claims. The information herein shall not constitute an admission of liability by, nor is it binding on, any
Debtor. Moreover, nothing herein shall affect any Debtor’s right to challenge the amount or characterization of any
claim at a later date.




              1
                 The Debtors in these jointly administered chapter 11 cases and the last four digits of their respective Employer
     Identification Numbers are: (i) ECOtality, Inc. (5422); (ii) Electric Transportation Engineering Corporation (4755);
     (iii) ECOtality Stores, Inc. (2643); (iv) ETEC North, LLC (n/a); (v) The Clarity Group, Inc. (8832); and (vi) G.H.V.
     Refrigeration, Inc. (4512). The Debtors’ service address at ECOtality, Inc.’s corporate headquarters is Post Montgomery
     Center, One Montgomery Street, Suite 2525, San Francisco, California 94104.




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                                                                                             Indicate if
                                                                        Nature of claim        claim is
                    Name, telephone number and complete mailing
                                                                        (trade debt, bank    contingent,
   Name of         address, including zip code, of employee, agent or
                                                                        loan, government    unliquidated,     Amount of claim
   Creditor         department of creditor familiar with claim who
                                                                        contract, etc.)      disputed or
                                   may be contacted
                                                                                              subject to
                                                                                                setoff
                   3610 Collins Ferry Road,                                                  Contingent,
                   P.O. Box 880                                                               Disputed,
 Department of                                                            Government
                   Morgantown, WV 26507                                                     Unliquidated,      $6,465,725.27
    Energy                                                                 Contract
                                                                                            Subject to Set-
                   Kelly McDonald                                                                off
                   Ph: (304) 285-4113


                   Affolternstrasse 44,
ABB Technology                                                           Note Payable                          $4,956,659.79
                   P.O. Box 8131
   Ventures
                   CH-8050 Zurich Switzerland


                   28635 Mound Road
                   Warren, MI 48092
SPX Corporation                                                          Trade Payable                          $588,368.12
                   Anthony Slaughter
                   Ph: (586) 574-2332

                   12445 Levan Road
                   Livonia, MI 48150
    Roush                                                                                    Contingent,
                                                                         Trade Payable                          $284,057.40
 Manufacturing                                                                                Disputed
                   Cheri Kaplan
                   Ph: (734) 779-7232

    BESCO          1800 N. Central Street
   Nashville       Knoxville, TN 37917
  (Broadway                                                              Trade Payable                          $253,726.00
Electric Service   Ph: (865) 546-2104
 Corporation)

                   P.O. Box 685006
                   Franklin, TN 37068-5006
 Nissan North                                                            Trade Payable                          $244,900.00
   America         John Arnesen
                   Ph: (615) 725-0792

                   1596 22nd Street SE
                   Salem, OR 97302
  Cherry City                                                            Trade Payable                          $241,773.15
   Electric        Joe Janssen
                   Ph: (503) 566-5600




                                                             2

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                                                                                            Indicate if
                                                                       Nature of claim        claim is
                   Name, telephone number and complete mailing
                                                                       (trade debt, bank    contingent,
   Name of        address, including zip code, of employee, agent or
                                                                       loan, government    unliquidated,   Amount of claim
   Creditor        department of creditor familiar with claim who
                                                                       contract, etc.)      disputed or
                                  may be contacted
                                                                                             subject to
                                                                                               setoff
                  21050 N. 9th Place, Ste. 309
                  Phoenix AZ 85024
 E3 Displays,                                                           Trade Payable                        $236,431.80
    LLC           Dennis Rahrig
                  Ph: (602) 288-9758

                  2416 S. 17th Place
                  Phoenix, AZ 85034
Kotman Electric                                                         Trade Payable                        $235,109.00
                  Ph: (602) 256-6103

                  1200 E. California Blvd (m/C 210-85)
                  Pasadena, CA 91125                                                       Contingent,
    Caltech                                                             Trade Payable                        $214,898.98
                                                                                           Unliquidated
                  (626) 395-8186

                  9475 Chesapeake Drive
                  San Diego, CA 92123
  Target CW                                                             Trade Payable                        $213,531.52
                  Michelle Brennan
                  Ph: (858) 810-3000

                  34505 W. Twelve Mile Road
                  Ste. 210
                  Farmington Hills, MI 48331                            Trade Payable                        $206,879.01
Logicalis, Inc.
                  Pat Haney
                  Ph: (248) 957-5600

                  9051 Siempre Viva Road
                  Bldg. 6, Ste. A-B
                  San Diego, CA 92154-7626                              Trade Payable                        $150,184.00
 Cisco Capital
                  Alisha Montes
                  Ph: (619) 710-0758

                  20 Keyland Court
 LVI Energy       Bohemia, NY 11716
                                                                        Trade Payable                        $146,160.00
(Lane Valente)
                  Ph: (877) 541-4321




                                                            3

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                                                                                              Indicate if
                                                                         Nature of claim        claim is
                     Name, telephone number and complete mailing
                                                                         (trade debt, bank    contingent,
   Name of          address, including zip code, of employee, agent or
                                                                         loan, government    unliquidated,   Amount of claim
   Creditor          department of creditor familiar with claim who
                                                                         contract, etc.)      disputed or
                                    may be contacted
                                                                                               subject to
                                                                                                 setoff
                    The Regents of the University of California
                    Cashier's Office
                    P.O. Box 989062
                    West Sacramento, CA 95798-9062
 University of      1200 Dutton Hall                                      Trade Payable                        $143,815.44
California, Davis   One Shields Ave
                    Davis, CA 95616

                    Stephanie Mata
                    Ph: (530) 752-0712

                    7552 Trade Street
                    San Diego, CA 94945
 Saturn Electric                                                          Trade Payable                        $143,300.00
                    Ph: (858) 271-0230

                    2075 E. 5th Street
    GMA             Tempe, AZ 85281
 Manufacturing                                                            Trade Payable                        $131,122.50
    LLC             Lynn Abramczyk
                    Ph: (480) 398.4300

                    2135 Defoor Hills Road
Hannah Solar &      Suite M
 Worry Free         Atlanta, GA 30318                                     Trade Payable                        $127,210.00
 Power LLC
                    Ph: (404) 609-7005

                    400 Renaissance Center
                    P.O. Box 400
                    Detroit, MI 48265
  OnStar LLC                                                              Trade Payable                        $126,334.12
                    Angela Harbar
                    Ph: (313) 667-8111

                    9787 Green Park Industrial Drive
                    St. Louis, MO 63123
    Bitrode                                                               Trade Payable                        $112,006.00
                    Laura Schacht
                    Ph: (636) 343-6112

                    6701 E Sharon Drive
                    Scottsdale, AZ 85254
Tornado Design                                                            Trade Payable                        $111,926.49
                    Chris Tingom
                    Ph: (602) 538-9120

                                                                  4

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                                                                                             Indicate if
                                                                        Nature of claim        claim is
                    Name, telephone number and complete mailing
                                                                        (trade debt, bank    contingent,
   Name of         address, including zip code, of employee, agent or
                                                                        loan, government    unliquidated,   Amount of claim
   Creditor         department of creditor familiar with claim who
                                                                        contract, etc.)      disputed or
                                   may be contacted
                                                                                              subject to
                                                                                                setoff
                   501 N. 44th Street, Suite 300, Phoenix, AZ 85008

McGladrey, LLP     Rick Sign                                             Trade Payable                        $109,129.22
                   Ph: (602) 636.6000


                   1635 W. Spencer Street
                   Appleton,WI 54912
 Miller Electric                                                         Trade Payable                        $106,641.68
   Mfg. Co.        Robin Reitzner
                   Ph: (920) 954-3862

                   352 Golden Leaf Court
                   Tracy, CA 95377
Campbell Family                                                          Trade Payable                        $105,570.00
  Electric, Inc    Temple Campbell
                   Ph: (209) 814-3874

                   P. O. Box 54977
                   Los Angeles CA 90054-0977
     Sprint                                                              Trade Payable                        $95,643.97
                   Ph: (877) 639-8351

                   312 N 14th Alexander West
 University of     Lincoln, NE 685880430
  Nebraska -                                                             Trade Payable                        $90,397.94
   Lincoln         Belinda Gillam
                   Ph: (402) 472-7061

                   1298 Pacific Oaks Place
                   Escondido, CA 92029
 Baker Electric                                                          Trade Payable                        $90,156.00
                   Ph: (760) 690.5173

                   2505 Dunwin Drive Unit 5 Mississauga, ON L5L5P6
 Low & High        Canada
 Power Group                                                             Trade Payable                        $86,916.10
    Inc.           Nada Matrook
                   Ph: (905) 820-1781


                   111 SW Columbia
                   Ste 480
  Christenson      Portland, OR 97201                                    Trade Payable                        $82,447.00
   Electric
                   Sonja Rheaume
                   Ph: (503) 419-3300


                                                               5

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                                                                                          Indicate if
                                                                     Nature of claim        claim is
                 Name, telephone number and complete mailing
                                                                     (trade debt, bank    contingent,
 Name of        address, including zip code, of employee, agent or
                                                                     loan, government    unliquidated,   Amount of claim
 Creditor        department of creditor familiar with claim who
                                                                     contract, etc.)      disputed or
                                may be contacted
                                                                                           subject to
                                                                                             setoff

                100 Bryan Drive
                Novato, CA 94945                                      Trade Payable
Evolvelectric                                                                                              $76,990.00
                Ph:(415) 892-1712




                                                          6

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                   UNITED STATES BANKRUPTCY COURT
                         DISTRICT OF ARIZONA


In re:                                          CASE NO. 2:13-BK-______(___)

ELECTRIC TRANSPORTATION ENGINEERING             Chapter 11
CORPORATION (d/b/a ECOTALITY NORTH
AMERICA),

                         Debtor.




                   LIST OF EQUITY SECURITY HOLDERS



                                                                           Equity
     Debtor        Equity Holders                     Address              Holding
                                                                            (%)

     Electric
  Transportation                       One Montgomery Street, Suite 2525    100%
                    ECOtality, Inc.
   Engineering                         San Francisco, California 94104
   Corporation




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                                   UNITED STATES BANKRUPTCY COURT
                                         DISTRICT OF ARIZONA


     In re:                                                               CASE NO. 2:13-BK-______(___)

     ELECTRIC TRANSPORTATION ENGINEERING                                  Chapter 11
     CORPORATION (d/b/a ECOTALITY NORTH
     AMERICA),

                                        Debtor.                           Joint Administration Requested




                                  CORPORATE OWNERSHIP STATEMENT


Pursuant to Rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure, the following organizational
chart identifies all entities having a direct or indirect ownership interest, of the above-captioned debtor in possession (the
“Debtor”) and any entity in which the Debtor owns an interest.




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                                        50%
    Collaboratev, LLC                                               ECOtality, Inc.
   (Delaware Corporation)                                          (Nevada Corporation)




                                                                              99%                   100%                              100%



                                    ECOtality Asia             Portable Energy de         1%
ECOtality Australia Pty Ltd.                                                                                                   Electric Transportation
                                     Pacific Ltd.              Mexico, S.A. de C.V.            ECOtality Stores, Inc.
(Australia Proprietary Company)
                                       (Hong Kong)                 (Mexico Corporation)            dba Fuel Cell Stores
                                                                                                                              Engineering Corporation
                                                                                                    dba Innergy Power                    dba ETEC
                                                                                                  (Nevada Corporation)                  dba ECONA
                                                                                                                                   (Arizona Corporation)


                                               40% (in progress)
                                                                                                                                   100%
                                                                                                  ETEC North, LLC
                                                                                                  (Delaware Corporation)


                                   Tianjin Eco-Power                                           The Clarity Group, Inc.             100%
                                  Technology Co. Ltd.                                                    dba ETA
                                                                                                   (Arizona Corporation)
                                    (China Corporation)

                                                                                                                                   100%
                                                                                               G.H.V. Refrigeration Inc.
                                                                                                  (California Corporation)




                                      Debtor                                Non-Debtor                  Non-Debtor Joint Venture

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